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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

VICKI TIMPA et al.,                                 §
                                                    §
       Plaintiffs,                                  §
                                                    §
and                                                 §
                                                    §
JOE TIMPA,                                          §   Civil Action No. 3:16-CV-03089-N
                                                    §
       Intervenor.                                  §
v.                                                  §
                                                    §
DUSTIN DILLARD et al.,                              §
                                                    §
       Defendants,                                  §


                     TRIAL BRIEF IN SUPPORT OF DEFENDANTS' REQUEST
                     FOR A WRIT OF HABEAS CORPUS AD TESTIFICANDUM


TO THE HONORABLE COURT:

       Defendants Dustin Dillard, Danny Vasquez, Raymond Dominguez, and Kevin Mansell,

pursuant to Rules 7(b) and 43(a) of the Federal Rules of Civil Procedure, and Local Civil Rule LR

7.1, file the above-titled brief in support of their request for a writ of habeas corpus ad

testificandum for Frederick Tyrone Johnson, Jr. to testify at trial remotely by videoconference. 1

I.     BACKGROUND

       Plaintiffs, the surviving parents and minor son of decedent Anthony “Tony” Timpa

(“Timpa”), filed this § 1983 civil rights action against Defendants, current and former Dallas

Police Department officers, arising from events that happened during their encounter with Timpa


1 Defendants requested a writ of habeas corpus in the Parties' Joint Pretrial order, submitted on June 20,

2013 (Doc. 271). Defendants clarified at the pretrial conference held on July 14, 2023, that to secure Mr.
Johnson's testimony at trial, Defendants required a writ of habeas corpus ad testificandum directing the
Warden at O.L. Luther Unit to produce Mr. Johnson to testify remotely via video conference. If a formal
motion for the writ is necessary, Defendants request the Court's permission to file one.
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on August 10, 2016. Plaintiffs allege that Defendant Dillard used unreasonable force against Timpa

by restraining him face-down in a prone position and that Defendants Vasquez, Dominguez, and

Mansell failed to intervene to stop the restraint, in violation of Timpa’s rights under the Fourth

Amendment. Plaintiffs seek monetary and non-economic damages, punitive damages, attorney’s

fees, and costs. Defendants deny using excessive force against Timpa and assert their entitlement

to qualified immunity on all claims. This case is set to commence a jury trial on September 18,

2023.

        Defendants’ Witness List identifies Frederick Tyrone Johnson, Jr., an inmate in the Texas

Department of Criminal Justice (“TDCJ”) housed at the O.L. Luther Unit in Navasota, Texas, as a

probable non-party witness whom Defendants intend to call at trial. (Doc. 278.) Defendants also

expressly stated in the Parties’ Joint Pretrial Order that a writ of habeas corpus ad testificandum

was necessary to secure his testimony at trial (Doc. 271 at 7). Defendants now file this brief in

support of their request for a writ of habeas corpus ad testificandum to permit Mr. Johnson to

testify at trial remotely using video-conferencing technology.

II.     APPLICABLE LEGAL STANDARDS AND ARGUMENT

        A. Legal Standard

        Rule 43 of the Federal Rules of Civil Procedure governs the taking of testimony at trial,

and it provides:

        At trial, the witnesses’ testimony must be taken in open court unless a federal statute, the
        Federal Rules of Evidence, these rules, or other rules adopted by the Supreme Court
        provide otherwise. For good cause in compelling circumstances and with appropriate
        safeguards, the court may permit testimony in open court by contemporaneous
        transmission from a different location.

Fed. R. Civ. P. 43(a). Thus, the Court may allow testimony via videoconferencing from a remote

location, once a party demonstrates “good cause in compelling circumstances.” Id. The decision



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to permit remote testimony by video conference is within the court’s discretion. See Shenzen

Synergy Digital Co. v. Mingtel, Inc., No. 4:19-CV-00216, 2021 WL 6072565, at *2 (E.D. Tex.

Dec. 23, 2021) (citing Eller v. Trans Union, LLC, 739 F.3d 467, 477 (10th Cir. 2013) (“Like other

evidentiary rulings, a district court’s decision whether to allow remote testimony pursuant to Rule

43(a) is reviewed for abuse of discretion”).); Thomas v. Anderson, 912 F.3d 971, 977 (7th Cir.

2018) (“[U]nder Rule 43(a), the judge has discretion to allow live testimony by video for ‘good

cause in compelling circumstances and with appropriate safeguards.’”), cert. denied, 140 S. Ct.

533 (2019). “Moreover, the Court’s discretion on this question is supplemented by its ‘wide

latitude in determining the manner in which evidence is to be presented’ under the Federal Rules

of Evidence.” Parkhurst v. Belt, 567 F.3d 995, 1002 (8th Cir. 2009) (citing Fed. R. Evid. 611(a)).

        B. Good Cause in Compelling Circumstances Exist.

        The Advisory Committee Notes to Rule 43(a) instruct that the good cause in compelling

circumstance requirement may be established “when a witness is unable to attend trial for

unexpected reasons, such as accident or illness, but remains able to testify from a different place,”

or when all parties agree that testimony should be presented by transmission.” 2 Id. However, courts


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  The Advisory Committee Notes instruct that other possible justifications for remote transmission must be
approached cautiously, considering that the testimony of witnesses beyond the reach of a trial subpoena can
be secured by oral and videotaped deposition before trial. Fed. R. Civ. P. 43(a) advisory committee notes
to 1996 amendment. Defendants attempted to secure Mr. Johnson’s testimony via a videotaped perpetuation
deposition before trial but were unsuccessful. In March 2023, the Court granted Defendants leave to secure
Mr. Johnson’s deposition while he was housed at Buster Cole State Jail in Bonham, Texas, approximately
80 miles northeast of Dallas. (Docs. 218 and 232.) However, in the course of working out the logistics of
an in-person deposition, defense counsel learned that Mr. Johnson had been moved from Buster Cole State
Jail to the O.L. Luther Unit, approximately 200 miles south of Dallas. See Google Maps - 1100 Commerce
St, Dallas, TX 75242 to 1800 Luther Drive, Navasota, TX; (Exhibit A). Subsequently, for the convenience
of all counsel and to avoid unnecessary expense, the Parties agreed to take Mr. Johnson’s deposition
remotely by video conference. (Id.). Defendants noticed the deposition for May 23, 2023. (Id.). The day
before Mr. Johnson’s deposition, defense counsel contacted Luther Unit to finalize the logistics of the
deposition, at which time prison staff advised that the deposition could not proceed without a court order.
(Id.) Because of the press of pretrial deadlines in this case and unforeseen challenges with the Luther Unit
in securing Mr. Johnson’s deposition by video conference, and considering the brevity of Mr. Johnson’s


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have found good cause in compelling circumstances to allow nonparty inmate witnesses to testify

at trial remotely via videoconference. See e.g., Thomas, 912 F.3d 971, 977; Pinson v. United

States, No. CV-19-00401-TUC-RM, 2023 WL 3044911, at *3 (D. Ariz. Apr. 21, 2023) (granting

writ of habeas corpus ad testificandum to allow inmate witnesses to testify at trial remotely via

videoconference); Barnett v. Gamboa, No. 105CV01022BAMPC, 2015 WL 13215676, at *1 (E.D.

Cal. Dec. 18, 2015).

        It is well-established in the Fifth Circuit that district courts have the power to issue a writ

of habeas corpus ad testificandum when “[i]t is necessary to bring [a prisoner] to court to testify

for trial.” 28 U.S.C. § 2241(c)(5); Latiolais v. Whitley, 93 F.3d 205, 208 (5th Cir. 1996); Ballard

v. Spradley, 557 F.2d 476, 480 (5th Cir.1977). In determining whether to issue the writ in prisoner-

plaintiff civil rights cases, district courts in this circuit consider (1) “whether the prisoner’s

presence will substantially further the resolution of the case”; (2) “the security risks presented by

the prisoner’s presence”; (3) “the expense of the prisoner’s transportation and safekeeping”; and

(4) “whether the suit can be stayed until the prisoner is released without prejudice to the cause

asserted.” The focus of the inquiry is “the need for the prisoner’s testimony vis-à-vis the difficulties

attendant to securing it.” Id. 557 F.2d at 481. Defendants have found no Fifth Circuit authority

extending that same test to nonparty inmate witnesses. However, courts in other jurisdictions have

applied the Ballard factors in deciding the issue. See Pinson, 2023 WL 3044911, at *3 (D. Ariz.

Apr. 21, 2023) (considering the Ballard factors and determining that they did not justify requiring

the physical presence of the plaintiff’s inmate witnesses at trial.) Barnett, 2015 WL 13215676, at

*1 (same).




testimony, Defendants chose to seek a writ of habeas corpus ad testificandum for Mr. Johnson to testify at
trial remotely. (Id.)
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       In Pinson v. United States, 2023 WL 3044911, a pro se plaintiff brought suit against the

United States and staff at a federal prison in Tucson, Arizona, asserting constitutional violations

based on events that occurred while she was confined in prison. The plaintiff asked the court to

issue writs of habeas corpus ad testificandum to secure her presence and the presence of her

nonparty inmate witnesses at trial. 2023 WL 3044911, at *1. After considering the Ballard factors,

the court determined that they did not justify requiring the physical presence of the nonparty inmate

witnesses at trial. First, the court found the plaintiff failed to show that the testimony of the inmate

witnesses was so crucial to resolution of this case that their physical presence was necessary to

allow the court to make appropriate evidentiary determinations. The court concluded that

videoconference appearances would allow it to view the witnesses, hear their voices, and evaluate

their testimony. And there was no technological barrier to any witnesses appearing via

videoconference, as both the court and the federal prisons have the appropriate technology and are

well-versed in its use. Pinson, 2023 WL 3044911, at *3.

       In Barnett v. Gamboa, 2015 WL 13215676, a pro se state prisoner brought a § 1983 civil

rights action against several state correctional officers alleging constitutional violations under the

Eight and Fourteenth Amendments. The plaintiff moved the court for an order permitting the

attendance of nonparty incarcerated witnesses at trial. The court applied the Ballard factors, which

the Ninth Circuit also uses in determining whether to issue a writ of habeas corpus ad

testificandum, Wiggins v. Alameda Cnty., 717 F.2d 466, 468 (9th Cir. 1983), and determined they

weighed against two nonparty inmate witnesses attend the trial in person. The court found one

inmate was serving a. 2015 WL 13215676, *2. The court found the expenses and security concerns

attendant to producing the inmates at trial, considering that one was serving a 23-year sentence for

burglary, robbery, carjacking, and an in-custody crime of possession of a controlled substance, and



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the other a life sentence for murder, established good cause in compelling circumstances to justify

permitting the inmates to testify via contemporaneous video transmission. Id.

          Here, like in Pinson and Barnett, the weight of the Ballard factors against Mr. Johnson

attending the trial in person establishes good cause in compelling circumstances to permit Mr.

Johnson to testify via contemporaneous video transmission.

          The first Ballard factor, whether the prisoner’s presence will substantially further the

resolution of the case, weighs against Mr. Johnson’s physical presence. Defendants anticipate that

Mr. Johnson will testify that he was with Timpa on August 10, 2016, prior to his encounter with

Defendants, that he personally observed Timpa’s psychotic behavior, and that he had discussions

with Timpa about his consumption of illegal drugs and alcohol before Timpa’s encounter with

Defendants. Mr. Johnson’s testimony is relevant to deciding two hotly contested issues in this case:

(1) the cause of Timpa’s death, and (2) damages. However, Mr. Johnson is a nonparty lay witness

with no personal knowledge about the events that transpired between Timpa and Defendants.

Therefore, his testimony will not substantially further resolution of Plaintiff’s Fourth Amendment

claims.

          Likewise, the second Ballard factor, the security risks presented by the prisoner’s presence,

weighs against requiring Mr. Johnson’s physical presence. As previously stated, Mr. Johnson is a

TDCJ inmate currently confined at the Luther Unit in Navasota, Texas. The Luther Unit is a

medium security prison located approximately 200 miles south of Dallas. Transporting Mr.

Johnson, who is serving a 15-year sentence for aggravated robbery with a deadly weapon, see

Texas Department of Criminal Justice Inmate Search, from Navasota to Dallas presents a security

risk for correctional officers and inmates, and exposes the general public to unnecessary danger.

The distant location of this nonparty inmate witness and the logistics required in transporting him



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from his current prison facility to Dallas present unnecessary security risks that are not justified,

considering that contemporaneous videoconference testimony can be easily secured.

        The third Ballard factor, the expense of the prisoner’s transportation and safekeeping,

likewise weighs against requiring Mr. Johnson’s physical presence. The total cost of Mr. Johnson’s

transportation and safekeeping are unknown. Although the Court has imposed time limits for the

presentation of evidence, trial proceedings are unpredictable and Defendants are unable to say with

certainty when Mr. Johnson will be called to testify, though they intend to call him as one of their

first witnesses after the Plaintiffs rest their case. If Plaintiffs were to rest their case on Wednesday

or Thursday of this week, correctional officers would have to transport Mr. Johnson to Dallas as

late as Tuesday evening, requiring him to stay in the county jail or a comparable facility overnight

for one or two days. Travel, lodging, and employee staffing expenses incurred for Mr. Johnson’s

transportation and safekeeping are unnecessary, especially considering that Mr. Johnson’s direct

examination can be presented by videoconference and is expected to last no more than thirty

minutes. (Doc. 278 at 8). Taxpayers should not have to bear those expenses when there is no

impediment to a nonparty inmate witness testifying remotely via video transmission.

        Finally, the fourth Ballard factor, whether the suit can be stayed until the prisoner is

released without prejudice to the cause asserted, weighs heavily against Mr. Johnson’s physical

presence. This case has been pending without trial for more than seven years due to its complex

procedural history. As previously stated, Mr. Johnson is serving a 15-year sentence for aggravated

robbery with a deadly weapon. Mr. Johnson’s earliest possible release date is December 2027.

Texas Department of Criminal Justice Inmate Search. His anticipated testimony will be brief, and

though relevant, will not substantially further the resolution of Plaintiffs’ excessive force and

bystander liability claims. Both sides would be prejudiced by any further delay. Undoubtedly,



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“[c]ontemporaneous transmission” for remote testimony would be “better than an attempt to

reschedule the trial, particularly if there is a risk that other—and perhaps more important—

witnesses might not be available at a later time.” Fed. R. Civ. P. 43(a) advisory committee’s note

to 1996 amendment.

       Considering that the Ballard factors heavily weigh against Mr. Johnson’s physical presence

at trial, the Court should find that good cause in compelling circumstances exists under Rule 43(a)

to require he testify at trial remotely by video conference.

       C. Appropriate Safeguards Are Available to Justify Remote Testimony.

       In addition to good cause and compelling circumstances, the Court must also find that there

are “appropriate safeguards” in place as contemplated by Rule 43(a) to justify the remote

testimony. Fed. R. Civ. P. 43(a). Rule 43(a)’s requirement that testimony occur in open court

serves two purposes: (1) to ensure that the witness testimony may be tested by cross-examination,

and (2) to allow the trier of fact to observe the demeanor of the witness. Mingtel, Inc., 2021 WL

6072565, at *5 (citing Carter-Wallace, Inc. v. Otte, 474 F.2d 529, 536 (2d Cir. 1972).) The

Advisory Committee Notes to Rule 43(a) instruct that “appropriate safeguards” must be adopted

“that ensure accurate identification of the witness and that protect against influence by persons

present with the witness,” and assures “[a]ccurate transmission” of the witness’s testimony. Fed.

R. Civ. P. 43(a) advisory committee’s note to 1996 amendment.

       The Court and the Luther Unit are equipped with video technology that will allow Mr.

Johnson to appear by video conference to ensure that appropriate safeguards are available for the

Court, jury, and parties to view the witness, hear his voice, and evaluate his testimony. Likewise,

because the video transmission of Mr. Johnson’s testimony will be contemporaneous and

instantaneous, Plaintiffs’ counsel will be allowed to cross-examine him. As the court noted in



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Barnett, “[c]ontemporaneous video testimony is an appropriate method for allowing [nonparty

inmates] to testify . . . [b]ecause a witness testifying by video is observed directly with little, if

any, delay in transmission, video testimony can sufficiently enable cross-examination and

credibility determinations, as well as preserve the overall integrity of the proceedings. Barnett,

2015 WL 13215676, at *3 (citing Parkhurst, 569 F.3d at 1003).

       Because appropriate safeguards are available, Mr. Johnson’s physical presence is not

necessary for the Court, jury, and parties to assess his credibility and make appropriate evidentiary

determinations.

III.    CONCLUSION AND PRAYER

       Defendants have demonstrated that there is good cause in compelling circumstances, that

with appropriate safeguards, justify allowing Mr. Johnson to testify remotely via video conference

technology. Mr. Johnson’s testimony will be relatively brief and allowing him to testify through

video conference would alleviate the security risks and the expense of transporting and safekeeping

him in Dallas. Further, both the Court and Luther Unit have the appropriate technology to ensure

appropriate safeguards for the Court, jury, and parties to see the witness, hear his voice, evaluate

his credibility, and weigh his testimony.

       WHEREFORE, Defendants pray the Court grant their request for a writ of habeas corpus

ad testificandum ordering the Warden of O.L. Luther Unit to produce Frederick Tyrone Johnson,

Jr. for trial to testify remotely by videoconference.




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                                  Respectfully submitted,

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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

VICKI TIMPA et al.,                             §
                                                §
       Plaintiffs,                              §
                                                §
and                                             §
                                                §
JOE TIMPA,                                      §   Civil Action No. 3:16-CV-03089-N
                                                §
       Intervenor.                              §
v.                                              §          EXHIBIT A
                                                §
DUSTIN DILLARD et al.,                          §
                                                §
       Defendants,                              §


                DECLARATION OF LINDSAY WILSON GOWIN UNDER
                PENALTY OF PERJURY PURSUANT TO 28 U.S.C. § 1746


       I, Lindsay Wilson Gowin, declare and state as follows:

       I am lead counsel for Defendants Dustin Dillard, Danny Vasquez, Raymond Dominguez,

and Kevin Mansell in the above-captioned case. This declaration sets forth the efforts made by

Defendants to secure the deposition of Frederick Tyrone Johnson, Jr., a nonparty witness and

inmate in the Texas Department of Criminal Justice.

       On February 1, 2023, Defendants moved for leave to secure the deposition of Frederick

Tyrone Johnson, Jr., a nonparty inmate witness confined in the Texas Department of

Criminal Justice, while he was housed at Buster Cole State Jail in Bonham, Texas,

approximately 80 miles northeast of Dallas. (ECF No. 218.) The Court granted that motion on

March 14, 2023 (ECF No. 232). However, after scheduling and submitting all the copious

Bureau of Prisons paperwork required for an in-person deposition at Buster Cole, I learned that



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Mr. Johnson had been moved to the O.L. Luther Unit in Navasota, Texas, approximately 200

miles south of Dallas. See Google Maps - 1100 Commerce St, Dallas, TX 75242 to 1800 Luther

Drive, Navasota, TX). Subsequently, I informed the Plaintiffs’ counsel that Mr. Johnson had

been relocated and inquired whether they would be amenable to a remote deposition. All

counsel agreed that for convenience and to avoid unnecessary expense, Mr. Johnson’s deposition

would be taken remotely by video conference.

       Mr. Johnson’s deposition was noticed for May 23, 2023, and prison personnel in Navasota

repeatedly assured me and my assistant that the deposition could be taken remotely. My assistant

confirmed this with the prison official several times per week for several weeks. Then on the

afternoon of Friday, May 19, 2023, the prison official called and told my assistant and me

that some Texas Department of Corrections supervisor in Huntsville had decreed that no

depositions could be taken remotely under any circumstances. Thereafter, Navasota prison

personnel thwarted efforts to procure a court reporter for an in-person deposition by denying

clearance to enter the prison until the prospective court reporter submitted so much information

that the prospective court reporters became suspicious of identity theft and declined the job.

       In subsequent discussions with opposing counsel regarding how to proceed, Mr. Henley

again expressed his willingness to take Mr. Johnson’s deposition remotely, and Ms. Hutchison

expressed a preference for taking the deposition remotely because she was working out of state

during the entire month of June. Due to the press of pretrial deadlines in this case and unforeseen

challenges with the Luther Unit in securing Mr. Johnson’s deposition by video conference,

and considering the brevity of Mr. Johnson’s expected testimony, I chose to seek a writ of

habeas corpus ad testificandum for Mr. Johnson to testify at trial remotely.




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     I declare under penalty of perjury that the foregoing is true and correct.

     Executed on September 17, 2023.

                                            /s/ Lindsay Wilson Gowin
                                            Lindsay Wilson Gowin




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